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JS 45 (01/2008)                               REDACTED


Criminal Case Cover Sheet                                                                                         U.S. District Court
Place of Offense:                          Under Seal: Yes      No X         Judge Assigned:
City       Sterling                Superseding Indictment                    Criminal Number:

County/Parish                      Same Defendant                            New Defendant        X
                                   Magistrate Judge Case Number 1:24-MJ-434                      Arraignment Date:
                                   Search Warrant Case Number
                                   R 20/R 40 from District of
                                   Related Case Name and No:
Defendant Information:
Juvenile -- Yes       No       FBI #:
Defendant Name: Everett Chad Nelson                 Alias Name(s)
Address:
Employment:
Birth date xx/xx/1980 SS#                   Sex M Def Race                Nationality                    Place of Birth
Height                Weight        Hair             Eyes                   Scars/Tattoos
Interpreter:          No       Yes List language and/or dialect                       Automobile Description
Location Status:
Arrest Date
   Already in Federal Custody as of                                  in
   Already in State Custody             On Pretrial Release               Not in Custody
X Arrest Warrant Requested              Fugitive                          Summons Requested
   Arrest Warrant Pending               Detention Sought                  Bond
Defense Counsel Information:
Name:                                              Court Appointed               Counsel conflicted out: ______________
Address:                                           Retained
Telephone:                                         Public Defender               Federal Public Defender’s Office conflicted out:
U.S. Attorney Information:
AUSA April Russo                     Telephone No: 703-299-3919                    Bar #
Complainant Agency, Address & Phone Number or Person & Title:
T. Michael Class, Jr., Special Agent, FBI
U.S.C. Citations:
           Code/Section            Description of Offense Charged            Count(s)          Capital/Felony/Misd/Petty
                                   Committing assault by beating,
Set 1      18 U.S.C. § 113(a)(4)   striking, and wounding.                        1            Felony
Set 2
Set 3
                                                     (May be continued on reverse))

Date:                         Signature of SAUSA:
